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                 United States Court of Appeals
                             FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                        ____________
No. 23-1084                                                 September Term, 2022
                                                                               FCC-22-162
                                                        Filed On: April 21, 2023
In re: SGCI Holdings III LLC, et al.,

              Petitioners


       BEFORE:       Pillard, Childs, and Pan, Circuit Judges

                                         ORDER

       Upon consideration of the petition for writ of mandamus, the National Association
of Broadcasters’ amicus curiae brief in support thereof, the responses to the petition,
and the reply; and the American Television Alliance’s motion for leave to file an amicus
curiae brief, it is

      ORDERED that the American Television Alliance’s motion for leave to file an
amicus curiae brief be granted. The Clerk is directed to file the lodged brief. It is

       FURTHER ORDERED that the petition for writ of mandamus be denied.
Petitioners have not demonstrated that respondent has unreasonably delayed in acting
on their applications. See Telecomms. Research & Action Ctr. v. FCC, 750 F.2d 70, 80
(D.C. Cir. 1984). Nor have they shown that respondent has a “crystal clear” duty to rule
on their applications without resort to a hearing. In re Ctr. for Biological Diversity, 53
F.4th 665, 670 (D.C. Cir. 2022) (quoting In re Nat'l Nurses United, 47 F.4th 746, 752
(D.C. Cir. 2022)).

       Pursuant to D.C. Circuit Rule 36, this disposition will not be published.

                                         Per Curiam


                                                          FOR THE COURT:
                                                          Mark J. Langer, Clerk

                                                  BY:     /s/
                                                          Amanda Himes
                                                          Deputy Clerk
